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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

BRANDON MORRIS                                          CIVIL ACTION NO. 3:19-cv-00266

VERSUS                                                  JUDGE TERRY A. DOUGHTY

GRAPHIC PACKAGING                                       MAG. JUDGE KAREN L. HAYES
INTERNATIONAL, LLC


                         MOTION FOR SUMMARY JUDGMENT
                    BY GRAPHIC PACKAGING INTERNATIONAL, LLC

        NOW INTO COURT, through undersigned counsel, comes Graphic Packaging International,

LLC (“GPI”), Defendant herein, which with respect moves this Court for summary judgment in this

matter, granting judgment in favor of GPI dismissing the claims of the Plaintiff, Brandon Morris,

and the Intervenor, Zurich American Insurance Company, on the basis that there is no genuine issue

of material fact and that GPI is entitled to judgment in its favor as a matter of law, as is more fully

shown by the Statement of Uncontested Material Facts, Memorandum in Support, and affidavits filed

in support of this motion.

        WHEREFORE, Graphic Packaging International, LLC prays that after due proceedings had,

that judgment be rendered herein in its favor and against Plaintiff and Intervenor dismissing the

claims of Plaintiff and Intervenor against Graphic Packaging International, LLC with prejudice and

at the cost of Plaintiff and Intervenor, as well as for all such other relief as is necessary and just in

these premises.

                                                        Respectfully submitted,

                                                        SHOTWELL, BROWN & SPERRY,
                                                        A Professional Law Corporation
                                                        1101 Royal Avenue (71201)
                                                        P. O. Box 14140
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                                                   Monroe, Louisiana 71207
                                                   Telephone: (318) 388-4700
                                                   Facsimile: (318) 388-4736


                                                   By:         s/C. A. Martin, III
                                                           C. A. Martin, III No. 8970

                                                   Attorneys for        Graphic     Packaging
                                                   International, LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Motion for
Summary Judgment by Graphic Packaging International, LLC was filed electronically and served
by operation of the Court’s CM/ECF system on this 10th day of September, 2019, on the following
counsel of record:

                      John F. Bruscato
                      The Bruscato Law Firm
                      709 Arkansas Avenue
                      Monroe, Louisiana 71202
                      john@bruscatolaw.com

                      Jennifer L. Simmons
                      Joseph L. Schrempp
                      Melchiode Marks King LLC
                      639 Loyola Avenue, Suite 2550
                      New Orleans, Louisiana 70113
                      jsimmons@mmkfirm.com
                      jschrempp@mmkfirm.com



                                                        s/C. A. Martin, III
                                                   C. A. Martin, III No. 8970
